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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTIUCT OF TEXAS
                                      EL PASO DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
            Plaintiff,                            §
                                                  §   CRIMINAL NO. EP-20-CR-0389-DCG
 v.                                               §
                                                  §
 PATRICK WOOD CRUSIUS,                            §
                                                  §
            Defendant.                            §

                 ORDER LIMITING PUBLICATION OF CERTAIN MATERIALS

           Upon the motion of the Parties, and for good cause shown, it is hereby ORDERED:

           1.       This Order applies a Limited Amendment to the previously issued Order Limiting

Publication of Certain Material. This Limited Amendment specific_ally modifies paragraph 11 (a)

to that Order by allowing the transfer, via hard drive, by Wal-Mart Stores, Inc. (Walmart) and First

National Bank to state civil suit non-party plaintiffs subject to the original Order of video

surveillance footage taken on or about August 3, 2019, from in and around the Walmart located

near Cielo Vista Mall at 7101 Gateway Boulevard West, El Paso, Texas.

           2.       Non-parties and authorized persons both already in, and subsequently coming into,

possession of this footage bear equal responsibility for appropriately securing materials subject to

this Order.

           3.       Non-pai1ies and authorized persons having access to and/or possession of these

records agree to subject themselves to the terms of this Limited Amendment, the original Order,

and any additional requirements imposed by the State District Court adjudicating the State Civil

Suit(s).
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     4.       All other clauses, definitions, and requirements remain in effect.



Signed this ~ f October, 2021.
